      Case 1:17-cv-08223-PKC Document 122 Filed 09/26/19 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x

Securities and Exchange Commission,                                   17 Civ. 8223 (PKC)

                                  Plaintiff,

                 -against-                                                ORDER

Mohammed Ali Rashid,

                                  Defendants.
-----------------------------------------------------------x

P. KEVIN CASTEL, U.S. District Judge:

                 The final pretrial conference originally scheduled for October 11, 2019 is

adjourned to December 3, 2019 at 2:00 p.m. Trial in this case will commence on December

10, 2019 at 10:30 a.m.

                 SO ORDERED.




Dated: New York, New York
       September 26, 2019
